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                                                                                                United States Bankruptcy Court
                                    UNITED STATES BANKRUPTCY COURT                                  Southern District of Texas
                                      SOUTHERN DISTRICT OF TEXAS                                       ENTERED
                                                                                                   December 12, 2024
In      Richard Alan Schluter, Jr                                                                   Nathan Ochsner, Clerk
Re:     Debtor                                         Case No.: 24−33579
                                                       Chapter: 13




                                ORDER WITHDRAWING MOTION TO DISMISS

     1. The Court has confirmed the Debtor(s)' chapter 13 plan. In connection with confirmation, the chapter 13
trustee has orally moved to withdraw his Motion to Dismiss.

      2. The chapter 13 trustee's motion to dismiss is withdrawn.


      Signed and Entered on Docket: 12/12/24.
